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                                                                                                 FILED & ENTERED
 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &    FOR COURT USE ONLY
 Email Address
                                                                                                     JAN 10 2011
 Routh Crabtree Olsen, P.S.
 Edward T. Weber, SBN# 194963                                                                     CLERK U.S. BANKRUPTCY COURT
 505 N. Tustin Ave., Suite 243                                                                    Central District of California
 Santa Ana, CA 92705                                                                              BY harraway DEPUTY CLERK

 Phone: 714-277-4915 Fax: 714-277-4899
 Email: eweber@rcolegal.com
 RCO #7021.42719




      Attorney for Movant(s)
      Movant(s) appearing without attorney
                                      UNITED STATES BANKRUPTCY COURT
                        CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION

 In re:                                                                    CASE NO.: 1:10-bk-16577-KT
                                                                           CHAPTER: 13
 Jorge Andrade

                                                                           ORDER GRANTING MOTION FOR RELIEF
                                                                           FROM THE AUTOMATIC STAY UNDER
                                                                           11 U.S.C. § 362 (REAL PROPERTY)

                                                                           DATE: December 28, 2010
                                                                           TIME: 9:30 am
                                                                           COURTROOM: 301
                                                                           PLACE: 21041 Burbank Boulevard, Woodland Hills, CA 91367


                                                              Debtor(s).

MOVANT: The Bank of New York Mellon fka The Bank of New York as Trustee for the
Certificateholders CWMBS, Inc. CHL Mortgage Pass-Through Trust 2005-HYB 10 Mortgage
Pass-Through Certificates, Series 2005-HYB 10
1. The Motion was:                Opposed                          Unopposed                      Settled by stipulation

2. The Motion affects the following real property (“Property”):

          Street Address:               _10580 Horse Creek Ave_________________
          City, State, Zip Code:        _Shadow Hills, CA 91040_

    Legal description or document recording number (including county of recording):
       See attached page.

3. The Motion is granted under:                11 U.S.C. § 362(d)(1)            11 U.S.C. § 362(d)(2)        11 U.S.C. § 362(d)(3)
                                               11 U.S.C. § 362(d)(4)


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4. As to Movant, its successors, transferees and assigns (“Movant”), the stay of 11 U.S.C. § 362(a) is:
   a.     Terminated as to Debtor(s) and Debtor’s(s’) bankruptcy estate.
   b.     Annulled retroactively to the date of the bankruptcy petition filing.
   c.     Modified or conditioned as set forth in Exhibit ____ to this Order.

5.         Movant may enforce its remedies to foreclose upon and obtain possession of the Property in accordance with
           applicable non-bankruptcy law, but may not pursue any deficiency claim against the Debtor(s) or property of the
           estate except by filing a Proof of Claim pursuant to 11 U.S.C. § 501.

6. Movant shall not conduct a foreclosure sale before the following date (specify): __________________

7.         The stay shall remain in effect subject to the terms and conditions set forth in the Adequate Protection Attachment
           to this Order.

8.         In chapter 13 cases, the trustee shall not make any further payments on account of Movant’s secured claim after
           entry of this Order. The secured portion of Movant’s claim is deemed withdrawn upon entry of this Order without
           prejudice to Movant’s right to file an amended unsecured claim for any deficiency. Absent a stipulation or order to
           the contrary, Movant shall return to the trustee any payments received from the trustee on account of Movant’s
           secured claim after entry of this Order.

9.         The filing of the petition was part of a scheme to delay, hinder and defraud creditors that involved either:

                transfer of all or part ownership of, or other interest in, the Property without the consent of the secured
                creditor or court approval.

                multiple bankruptcy filings affecting the Property.

      If recorded in compliance with applicable state laws governing notices of interest or liens in the Property, this Order is binding and effective under
      11 U.S.C. § 362(d)4(A) and (B) in any other bankruptcy case purporting to affect the Property filed not later than two (2) years after the date of
      entry of this Order, except that a debtor in a subsequent bankruptcy case may move for relief from this Order based upon changed circumstances
      or for good cause shown, after notice and a hearing. Any federal, state or local governmental unit that accepts notices of interests or liens in real
      property shall accept a certified copy of this Order for indexing and recording.

10. This Court further orders as follows:

      a.        This Order shall be binding and effective despite any conversion of this bankruptcy case to a case under any
                other chapter of the Bankruptcy Code.
      b.        The 14-day stay provided by FRBP 4001(a)(3) is waived.
      c.        The provisions set forth in the Extraordinary Relief Attachment shall also apply (attach Optional Form F 4001-
                10-ER).
      d.        See attached continuation page for additional provisions.
###




                   DATED: January 10, 2011
                                                                             United States Bankruptcy Judge




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                                                      LEGAL DESCRIPTION




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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
505 N. Tustin Avenue, Ste., 243, Santa Ana, CA 92705


A true and correct copy of the foregoing document described as ORDER GRANTING MOTION FOR RELIEF FROM THE
AUTOMATIC STAY UNDER 11 U.S.C. § 362 (REAL PROPERTY) will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner indicated below:




I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) – Pursuant to controlling General
Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served by the court via NEF and hyperlink
to the document. On December 29, 2010, I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following person(s) are on the Electronic Mail Notice List to receive NEF transmission
at the email address(es) indicated below:




                                                                                           Service information continued on attached page

II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL(indicate method for each person or entity served):
On December 29, 2010, I served the following person(s) and/or entity(ies) at the last known address(es) in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States Mail, first class, postage prepaid, and/or with an overnight mail service addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Debtor: Jorge Andrade: 16921 Parthenia Street, Unit 302, North Hills, CA 91343
Debtor’s Counsel: Kevin T Simon: Simon & Resnik LLP: 15233 Ventura Blvd Ste 300, Sherman Oaks, CA 91403
Chapter 13 Trustee: Elizabeth Rojas: Noble Professional Center: 15060 Ventura Blvd. Suite 240, Sherman Oaks, CA
91403
United States Trustee: 21051 Warner Center Lane, Suite 115, Woodland Hills, CA 91367
Chambers of the Honorable: Kathleen Thompson: United States Bankruptcy Court: 21041 Burbank Boulevard, Suite 305
Woodland Hills, CA 91367
                                                                        Service information continued on attached page

III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (indicate method for each person or
entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on _________________, I served the following person(s)
and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile
transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on the judge
will be completed no later than 24 hours after the document is filed.




                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

 12/29/10                          Ronald Klucsar                                              /s/ Ronald Klucsar
 Date                                 Type Name                                                Signature




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                          NOTICE OF ENTERED ORDER AND SERVICE LIST
Notice is given by the court that a judgment or order entitled (specify) ORDER ON ORDER GRANTING MOTION FOR
RELIEF FROM THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (Real Property) was entered on the date indicated as
AEntered@ on the first page of this judgment or order and will be served in the manner indicated below:


I. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (ANEF@) B Pursuant to controlling General Order(s)
and Local Bankruptcy Rule(s), the foregoing document was served on the following person(s) by the court via NEF and
hyperlink to the judgment or order. As of December 29, 2010 the following person(s) are currently on the Electronic Mail
Notice List for this bankruptcy case or adversary proceeding to receive NEF transmission at the email address(es)
indicated below.

Chapter 13 Trustee: Elizabeth Rojas: cacb_ecf@ch13wla.com
United States Trustee: ustpregion16.wh.ecf@usdoj.gov
Movant’s Counsel: Edward T. Weber: bknotice@rcolegal.com
Debtor’s Counsel: Kevin T Simon: kevin@ktsimonlaw.com


                                                                                           Service information continued on attached page

II. SERVED BY THE COURT VIA U.S. MAIL: A copy of this notice and a true copy of this judgment or order was sent by
United States Mail, first class, postage prepaid, to the following person(s) and/or entity(ies) at the address(es) indicated
below:

Debtor: Jorge Andrade: 16921 Parthenia Street, Unit 302, North Hills, CA 91343



                                                                                           Service information continued on attached page

III. TO BE SERVED BY THE LODGING PARTY: Within 72 hours after receipt of a copy of this judgment or order which
bears an AEntered@ stamp, the party lodging the judgment or order will serve a complete copy bearing an AEntered@ stamp
by U.S. Mail, overnight mail, facsimile transmission or email and file a proof of service of the entered order on the
following person(s) and/or entity(ies) at the address(es), facsimile transmission number(s), and/or email address(es)
indicated below:




                                                                                           Service information continued on attached page




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